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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

Amanda Frahm,                                       Case No.

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Global Credit & Collection Corporation,
                                                     JURY DEMAND ENDORSED HEREIN
         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a natural person who resided in Frankenmuth, Michigan at all times relevant to

     this action.

3. Defendant is a Delaware corporation that maintained its principal place of business in

     Williamsville, New York at all times relevant to this action.

4. Defendant regularly uses the telephone and the United States mail to collect debts owed to

     others and is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. Sometime prior to August 3, 2010, Defendant was hired by Capital One to collect from

     Plaintiff a “debt” as defined by 15 U.S.C. §1692a(5), which Plaintiff had allegedly incurred

     in connection with her use of a credit card for personal or household purposes.

6. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) because she is alleged to owe

     the debt.




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7. In or around August 2010, Defendant telephoned Plaintiff’s place of employment in

   connection with the collection of the debt on numerous occasions.

8. During several of these communications, Plaintiff informed Defendant that its calls to her

   place of employment were extremely inconvenient for her, but Defendant ignored these

   notices.

9. During several of these communications, Defendant threatened to speak to Plaintiff’s Boss if

   Plaintiff did not pay Defendant.

10. During several of these communications, Defendant threatened to speak to Plaintiff’s payroll

   department if Plaintiff did not pay Defendant.

11. During several of these communications, Defendant falsely represented that legal action was

   already pending against Plaintiff or would be commenced within 24 hours if Plaintiff did not

   pay Defendant.

12. On or around August 5, 2010, Defendant telephoned Plaintiff’s place of employment on at

   least six occasions with the intent to harass Plaintiff.

13. On or around August 6, 2010 Defendant telephoned Plaintiff’s place of employment on at

   least five occasions with the intent to harass Plaintiff.

14. On or around August 5, 2010, Defendant telephoned Plaintiff’s boss in connection with the

   collection of the debt without Plaintiff’s consent.

15. On or around August 9, 2010, Defendant telephoned Plaintiff’s boss in connection with the

   collection of the debt without Plaintiff’s consent.

16. In or around August 2010, Defendant telephoned Plaintiff’s mother (“Shari”) in connection

   with the collection of the debt on several occasions without Plaintiff’s consent.




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17. During the first of these communications, Shari notified Defendant that Plaintiff could not be

   reached at Shari’s residence.

18. During at least one of these communications, Defendant told Shari that Defendant wanted to

   speak to Plaintiff about a legal matter.

19. At the time of these communications, Defendant already had Plaintiff’s location information.

20. Despite already having Plaintiff’s location information, Defendant telephoned Plaintiff’s

   cousin-in-law in connection with the collection of the debt on or around August 10, 2010

   without Plaintiff’s consent.

21. Despite already having Plaintiff’s location information, Defendant telephoned Plaintiff’s

   father-in-law in connection with the collection of the debt on or around August 10, 2010

   without Plaintiff’s consent.

22. Defendant caused Plaintiff embarrassment and emotional distress.

23. Defendant violated the FDCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. Defendant violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

26. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

27. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which was to harass, oppress, or abuse Plaintiff.




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                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

28. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

29. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

    in connection with the collection of the debt.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

30. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

31. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

    debt.

                                          JURY DEMAND

32. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

33. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.
                                                Attorneys for Plaintiff

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